Case 9:20-cv-82105-RLR Document 1 Entered on FLSD Docket 11/18/2020 Page 1 of 5



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                                  MDL NO. 2924
 PRODUCTS LIABILITY                                                                           20-MD-2924
 LITIGATION
                                                                 JUDGE ROBIN L. ROSENBERG
                                                       MAGISTRATE JUDGE BRUCE E. REINHART

 ______________________________/

 THIS DOCUMENT RELATES TO:                                         JURY TRIAL DEMANDED
 Laura Ann David; 9:20-cv-81860
 (Plaintiff Name(s))

                                        SHORT-FORM COMPLAINT

         The Plaintiff named below, by counsel, files this Short Form Complaint against Defendants

 named below. Plaintiff incorporates by reference the allegations contained in the Master Personal Injury

 Complaint (“MPIC”) in In re: Zantac (Ranitidine) Products Liability Litigation, MDL No. 2924 (S.D.

 Fla). Plaintiff files this Short Form Complaint as permitted by Pretrial Order No. 31.

         Plaintiff selects and indicates by completing where requested, the Parties and Causes of Actions

 specific to this case. Where certain claims require additional pleading or case specific facts and

 individual information, Plaintiff shall add and include them herein.

         Plaintiff, by counsel, allege as follows:

                 I.       PARTIES, JURISDICTION, AND VENUE

     A. PLAINTIFF(S)

         1. Plaintiff     Laura Ann David                  . (Plaintiff) brings this action (check the

             applicable designation):

                 ☒       On behalf of herself;

                 ☐       In representative capacity as the _______________________, on behalf of the
                         Injured party, (Injured Party’s Name) ______________.

         2. Injured Party is currently a resident and citizen of Pointe Coupee Parish, Louisiana and
            claims damages as set forth below:

                                                     —OR—
Case 9:20-cv-82105-RLR Document 1 Entered on FLSD Docket 11/18/2020 Page 2 of 5



             Decedent died on (Month, Day, Year) ________________. At the time of Decedent’s death,
             Decedent was a resident and citizen of (City, State) _________________________.

 If any party claims loss of consortium,

         3. _______________ (“Consortium Plaintiff”) alleges damages for loss of consortium.

         4. At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a citizen and
            resident of (City, State) _________________________.

         5. At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
            ________________________.

     B. DEFENDANT(S)

         6. Plaintiff(s) name(s) the following Defendants from the Master Personal Injury Complaint in
            this action:

             a. Brand Manufacturers:
                Boehringer Ingelheim Pharmaceuticals, Inc.; Sanofi US Services Inc.; Pfizer, Inc.; and
                GlaxoSmithKline, LLC
             b. Generic Manufacturers:
                Unknown
             c. Distributors:
                Chattem, Inc.
             d. Retailers:
                Unknown
             e. Repackagers:
                Unknown
             f. Others Not Named in the MPIC:
                Unknown

     C. JURISDICTION AND VENUE

         7. Identify the Federal District Court in which Plaintiff(s) would have filed this action in the
            absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District Court to which
            their original action was removed]:

             The United States District Court for the Middle District of Louisiana.


         8. Jurisdiction is proper upon diversity of citizenship.

                                  II.      PRODUCT USE

         9. The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                 ☐       By prescription

                 ☒       Over the counter
Case 9:20-cv-82105-RLR Document 1 Entered on FLSD Docket 11/18/2020 Page 3 of 5



          10. The Injured Party used Zantac and/or generic ranitidine from approximately (month/year)
              04/2017 to 12/2019.

                                   III.    PHYSICAL INJURY

          11. As a result of the Injured Party’s use of the medications specified above, he was diagnosed
              with the following specific type of cancer (check all that apply):

  Check        Cancer Type                                           Approximate Date of Diagnosis
  all
  that
  apply
  ☐            BLADDER CANCER
  ☐            BRAIN CANCER
  ☐            BREAST CANCER
  ☐            COLORECTAL CANCER
  ☐            ESOPHAGEAL/THROAT/NASAL CANCER
  ☐            INTESTINAL CANCER
  ☐            KIDNEY CANCER
  ☐            LIVER CANCER
  ☐            LUNG CANCER
  ☐            OVARIAN CANCER
  ☐            PANCREATIC CANCER
  ☐            PROSTATE CANCER
  ☐            STOMACH CANCER
  ☐            TESTICULAR CANCER
  ☐            THYROID CANCER
  ☒            UTERINE CANCER                                        January 29, 2019
  ☐            OTHER CANCER:

  ☐            DEATH (CAUSED BY CANCER)


          12. Defendants, by their actions or inactions, proximately caused the injuries to Plaintiff.

                                   IV.     CAUSES OF ACTION ASSERTED

          13. The following Causes of Action asserted in the Master Personal Injury Complaint are asserted
              against the specified defendants in each class of Defendants enumerated therein, and the
              allegations with regard thereto are adopted in this Short Form Complaint by reference:

  Check if       COUNT        Cause of Action
  Applicable
      ☒                I      STRICT PRODUCTS LIABILITY – FAILURE TO WARN
      ☒               II      STRICT PRODUCTS LIABILITY – DESIGN DEFECT
      ☒              III      STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT
      ☒              IV       NEGLIGENCE – FAILURE TO WARN
Case 9:20-cv-82105-RLR Document 1 Entered on FLSD Docket 11/18/2020 Page 4 of 5




     ☒           V        NEGLIGENT PRODUCT DESIGN
     ☒          VI        NEGLIGENT MANUFACTURING
     ☒          VII       GENERAL MANUFACTURING
     ☒          VIII      NEGLIGENT MISREPRESENTATION
     ☒          IX        BREACH OF EXPRESS WARRANTIES
     ☒           X        BREACH OF IMPLIED WARRANTIES
     ☐          XI        VIOLATION OF CONSUMER PROTECTION AND DECEPTIVE
                          TRADE PRACTICES LAWS and specify the state’s statute below:

     ☒         XII        UNJUST ENRICHMENT
     ☐         XIII       LOSS OF CONSORTIUM
     ☐         XIV        SURVIVAL ACTION
     ☐         XV         WRONGFUL DEATH
     ☒         XVI        OTHER - Redhibition
     ☐         XVII       OTHER

          If Count XVI or Count XVII is alleged, additional facts supporting the claim(s):
            Redhibition: Under Louisiana law, the seller warrants the buyer against redhibitory
            defects, or vices, in the thing sold. La. C.C. 2520. Defendants sold and promoted
            Zantac and/or generic ranitidine, and Zantac and/or generic ranitidine possess a
            redhibitory defect because the products were not manufactured and marketed in
            accordance with industry standards and/or were unreasonably dangerous, as
            described in the Master Complaint, which renders the products useless or so
            inconvenient that it must be presumed that the buyer would not have brought the
            products had she known of the defect. Pursuant to La. C.C. 2520, Plaintiff is
            entitled to obtain a rescission of the sale of the products. Zantac and/or generic
            ranitidine alternatively possess a redhibitory defect because the products were not
            manufactured and marketed in accordance with industry standard and/or were
            unreasonably dangerous, as described in the Master Complaint, which diminishes
            the value of the products so that it must be presumed that a buyer would still have
            bought it but for a lesser price. In this instance, Plaintiff is entitled to a reduction in
            the purchase price of the products. As the manufacturer of the products, under
            Louisiana law, Defendants are deemed to know that Zantac and/or ranitidine
            possessed a redhibitory defect. La. C.C. art. 2545. Defendants are a bad faith seller
            for selling defective products with knowledge of the defects, and thus, is liable to
            Plaintiff for the price of the products, with interest from the purchase date, as well
            as reasonable expenses occasioned by the sale of the products, and attorney’s fees.
            As a result of the redhibitory defects of Defendants’ Zantac and/or ranitidine,
            Plaintiff has suffered damages and harm, including, but not limited to, personal
            injury, physical pain and suffering, mental anguish, medical expenses, surgical
            costs of removal of the products, loss of enjoyment of life, lost wages, fear of
            cancer, increased risk of cancer, and ongoing medical monitoring costs

                              V.      JURY DEMAND
Case 9:20-cv-82105-RLR Document 1 Entered on FLSD Docket 11/18/2020 Page 5 of 5




         14. Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.


                                  VI.      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of action,

 jointly and severally to the full extent available in law or equity, as requested in the Master Personal

 Injury Complaint.

 Date: November 17, 2020                                    /s/ Claire E. Berg
                                                            M. Palmer Lambert (#33228)
                                                            Claire E. Berg (#37029)
                                                            GAINSBURGH, BENJAMIN, DAVID,
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